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                  UNITED STATES DISTRICT COURT
                  EASTERN DISTRICT OF MICHIGAN
                       SOUTHERN DIVISION


ANESTHESIA ASSOCIATES OF                     2:20-CV-12916-TGB-APP
ANN ARBOR PLLC,
                  Plaintiff,


      v.
                                          ORDER DENYING IN PART
                                           AND GRANTING IN PART
BLUE CROSS BLUE SHIELD                    PLAINTIFF’S MOTION FOR
OF MICHIGAN,                              LEAVE TO FILE AMENDED
                                           COMPLAINT (ECF NO. 43)
                  Defendant.

      This action arises from Plaintiff Anesthesia Associates of Ann
Arbor’s (“A4”) allegations of a decades-long scheme by Defendant Blue
Cross Blue Shield of Michigan (“BCBS-MI”) to unlawfully dominate the
market for buying anesthesiology services in Michigan. For the
following reasons, A4’s motion to amend is DENIED in part and
GRANTED in part.

                          I.    BACKGROUND
      On October 29, 2020, Plaintiff Anesthesia Associates of Ann Arbor
(“A4”) brought suit against Defendant Blue Cross Blue Shield of

Michigan (“BCBS-MI”), alleging that BCBS-MI used its dominant
position as a buyer of healthcare services to pay A4’s anesthesiologists
artificially depressed reimbursement rates in violation of the Sherman
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Act, Clayton Act, and state law. ECF No. 1. On January 4, 2021, BCBS-
MI moved to dismiss A4’s Complaint for failure to state a claim under

Rule 12(b)(6). ECF No. 13. On September 14, 2021, this Court granted
BCBS-MI’s motion but permitted A4 to seek leave to amend its
Complaint. ECF No. 41. A4 subsequently filed its motion for leave to
amend. ECF No. 43.
      Currently before the Court is A4’s motion for leave to amend its
Complaint. ECF Nos. 43, 43-2. In its September 14, 2021 Order
dismissing A4’s Complaint, the Court addressed only the issue of
antitrust standing because it found that A4 failed to plausibly allege
any injury “of the type that the antitrust statute was intended to
forestall.” ECF No. 41, PageID.1463.
      A4’s initial theory of liability centered around BCBS-MI acting in
concert with hospitals to refuse “to deal with anesthesiologists who are
out of BCBS’s network.” ECF No. 22, PageID.515. This alleged refusal
to deal insulated BCBS-MI from competition, enabling it to require
Michigan anesthesiologists to accept below-competitive rates. The Court
determined, however, that A4 had not plausibly alleged a boycott or
price-fixing conspiracy between BCBS-MI and its hospital affiliates,
Trinity and Beaumont. ECF No. 41, PageID.1478–80. And pursuant to

the First Circuit’s holding in Kartell v. Blue Shield of Massachusetts,
Inc., 749 F. 2d 922 (1st Cir. 1984), BCBS-MI’s mere imposition of low
prices—absent conspiracy—is not actionable. Id. at PageID.1469–70.
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      The Court also found that A4 did not adequately plead the
requisite causation to establish antitrust standing. Id. at PageID.1485.

Although A4 alleged that BCBS-MI’s conspiracy began in April 2019
and culminated in October 2020, “its allegations of harm to
competition—low reimbursement rates for anesthesiology services leads
to reduced output and quality—precede[d] the time period when the
conspiracy was formed.” Id. A4 also failed to plausibly allege that
BCBS-MI’s “low reimbursement rates for anesthesiologists hurt
consumers in the form of higher prices, reduced output, or reduced
quality.” Id. at PageID.1484. Relatedly, the Court found that A4’s
alleged injury was too indirect because it was derivative of the harm to
healthcare consumers. Id. at PageID.1487. Moreover, as pled, A4’s
interest in seeking higher reimbursement rates directly conflicted with
consumers’ interest in keeping insurance premiums and provider
payments low. Id. at PageID.1489. Therefore, A4 failed to show that its
injury was causally related to the alleged antitrust law violations.
      A4’s proposed Amended Complaint has reduced its causes of
actions from ten to nine: (1) tortious interference with a contract under
Michigan law; (2) civil conspiracy to commit tortious interference with a
contract under Michigan law; (3) unlawful and malicious threats under

Michigan law; (4) duress under Michigan law; (5) conspiracy in violation
of Section 1 of the Sherman Act; (6) monopsonization in violation of
Section 2 of the Sherman Act; (7) attempted monopsonization in
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violation of Section 2 of the Sherman Act; (8) a claim for injunctive
relief under Section 16 of the Clayton Act; and (9) a claim for injunctive

relief under Michigan law. ECF No. 43-2.
      As A4 summarizes in its motion for leave to amend, its proposed
Amended Complaint now alleges:
      (1) that A4, as a seller of anesthesiology services, is the
      direct victim of decades-long conspiracies by [BCBS-MI] to
      monopsonize the market for buying anesthesiology services
      in Michigan; (2) that [BCBS-MI’s] actions have resulted in
      reduced quality and increased quality-adjusted prices for
      consumers;     and     (3)   that   stopping   [BCBS-MI’s]
      anticompetitive actions would result in higher quality
      service and lower-quality adjusted prices for consumers,
      even as reimbursements for certain high-quality
      anesthesiologists, such as A4, would go up.
Plaintiff’s Motion for Leave to Amend Complaint, ECF No. 43,
PageID.1507.
      BCBS-MI contends that the proposed Amended Complaint suffers
from the same defects as the original, such that the Court should deny
leave to amend as futile. Defendant’s Opposition to Plaintiff’s Motion

for Leave to Amend, ECF No. 46, PageID.1719.
                        II.   LEGAL STANDARD
      Under Federal Rule of Civil Procedure 15, if amendment as a
matter of course is unavailable, a party may amend the pleading “only
with the opposing party’s written consent or the court’s leave.” “The
court should freely give leave when justice so requires.” Fed. R. Civ. P.


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15(a)(2). Before deciding whether to grant leave to amend, a court must
consider several factors including: “[u]ndue delay in filing, lack of notice

to the opposing party, bad faith by the moving party, repeated failure to
cure deficiencies by previous amendments, undue prejudice to the
opposing party, and futility of amendment.” Wade v. Knoxville Utils.
Bd., 259 F.3d 452, 458 (6th Cir. 2001); see also Szoke v. UPS of Am.,
Inc., 398 F. App’x 145, 153 (6th Cir. 2010) (citation omitted). A court
may deny leave to amend “for futility ‘if the court concludes that the
pleadings as amended could not withstand a motion to dismiss.’”
Midkiff v. Adams Cnty. Reg’l Water Dist., 409 F.3d 758, 767 (6th Cir.
2005) (quoting Martin v. Assoc. Truck Lines, Inc., 801 F.2d 246, 249 (6th
Cir. 1986)).

                       III. DISCUSSION
A. A4’s Proposed Amended Complaint Cures Some of Its
   Antitrust Standing Issues
      In granting BCBS-MI’s initial motion to dismiss, the Court
focused its opinion on A4’s lack of antitrust standing. To address the
Court’s standing concerns, and without having evidence of predatory
pricing, A4 now strategically pleads that it is a seller injured by BCBS-
MI’s conspiracies to monopsonize, rather than a competitor or consumer
in the relevant market. ECF No. 43, PageID.1507. The Court finds that

this amendment solves some of A4’s pleading problems. But because
seller-based standing is contingent upon A4’s ability to plausibly plead

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the existence of an underlying conspiracy, some of A4’s amendments are
futile.

      As detailed below, the Court finds that A4’s proposed Amended
Complaint fails to plausibly plead a Hospital Conspiracy, such that it
lacks antitrust standing to pursue claims on that theory. On the other
hand, the Court finds that A4 has plausibly pled the existence of the
Blues Conspiracy, thus permitting A4 to attain seller-based standing on
the Blues Conspiracy theory only.
      1. A4’s Prior Antitrust Standing Issues
      In its previous Order, this Court found that A4’s alleged injury
was not the type of harm that antitrust laws intended to prevent. First,
A4 failed to adequately plead facts that would overcome the “natural
inference that as a buyer of anesthesiology services on behalf of
patients, Defendant has incentives to procure the best quality at the
lowest price.” ECF No. 41, PageID.1486. Second, A4’s allegations simply
did not establish that BCBS-MI conspired with hospitals to fix prices at
a depressed reimbursement rate. Id. at PageID.1478–79. Rather, the
Court determined that A4’s “theory of a conspiracy center[ed] not on
pricing but on an agreement to refuse to deal with providers that leave
Defendant’s network.” Id. at PageID.1478. BCBS-MI’s “unilateral

decision on reimbursement rates for anesthesiology services” thus did
not give rise to a plausible antitrust injury. Id. at PageID.1478–79.


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      Additionally, the Court found that BCBS-MI’s requirement for
hospitals to restrict access to only in-network anesthesiologists did not

permit inferring a conspiracy between BCBS-MI and the hospitals. Id.
at PageID.1479. Moreover, even if there was a conspiracy, A4 did not
clearly show whether consumers would benefit from lower prices if
BCBS-MI paid a higher reimbursement rate, making A4’s claims even
more unavailing. Id. Lastly, the Court found that A4’s allegation that
low reimbursement rates tend to decrease quality and output were not
sufficiently strong to withstand a motion to dismiss. Id. at PageID.1480.
      2. A4’s Proposed Amendments Attempt to Plead Seller-
         Based Standing
      “The antitrust standing requirement makes certain that the laws
are used only to deal with the economic problems whose solutions these
policies were intended to effect.” HyPoint Tech., Inc. v. Hewlett-Packard
Co., 949 F.2d 874, 877 (6th Cir. 1991). As part of establishing antitrust
standing, a plaintiff must demonstrate that it has suffered an “antitrust
injury,” which is an “(1) ‘injury of the type that the antitrust laws were
intended to prevent’ and (2) injury ‘that flows from that which makes

defendants’ acts unlawful.’” Rodney v. Nw. Airlines, Inc., 146 F. App’x
783, 790 (6th Cir. 2005) (quoting In re Cardizem, 332 F.3d 896, 909 (6th
Cir. 2003)). Pleading a cognizable “antitrust injury” as part of antitrust

standing is essential to surviving a motion to dismiss—the standard
that A4 must meet here to be granted leave to amend its Complaint.

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Hodges v. WSM, Inc., 26 F.3d 36, 38 (6th Cir. 1994); Valley Prod. Co. v.
Landmark, a Div. of Hosp. Franchise Sys., Inc., 128 F.3d 398, 406 (6th

Cir. 1997).
      A4’s proposed Amended Complaint clarifies that A4 is not solely
challenging BCBS-MI’s rates, but instead emphasizes that BCBS-MI
conspired to create and maintain monopsony power in the market of
buying anesthesiology services. A4 contends that “insurers compete to
purchase anesthesiology services,” while hospitals in turn “compete . . .
to recruit anesthesiologists,” with A4 being a seller of the services that
BCBS-MI and the hospitals want to buy. ECF No. 43, PageID.1514,
PageID.1518; see also Todd v. Exxon Corp., 275 F.3d 191, 201 (2d Cir.
2001) (“The Sherman Act . . . also applies to abuse of market power on
the buyer side—often taking the form of monopsony or oligopsony.”);
Nat’l Hockey League Players Ass’n v. Plymouth Whalers Hockey Club,
419 F.3d 462, 474 (6th Cir. 2005) (distinguishing competition between
NHL players and “between NHL clubs for these players’ services”).
BCBS-MI thus injured A4 as a seller of anesthesiology services.
      As such, “[a] plaintiff may state a Sherman Act Section 1 claim for
lower prices, for example, as a result of a buyers’ cartel where a group of
buyers sets a price below competitive levels.” Rio Grande Royalty Co. v.

Energy Transfer Partners, L.P., 786 F. Supp. 2d 1190, 1195 n.6 (S.D.
Tex. 2009). A4 argues that its amendments align its seller-based claims
with those at issue in In re Southeastern Milk Antitrust Litigation,
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where the court held that milk sellers had plausibly pled antitrust
injury caused by milk buyers’ conspiracy to monopsonize. 555 F. Supp.

2d 934, 945 (E.D. Tenn. 2008). A4 claims that like the milk sellers in In
re Southeastern Milk, it also “[has] no other option but to sell at the
price set by [BCBS-MI]. . . . In other words, the jury may find that [A4]
ha[s] suffered an antitrust injury because of [BCBS-MI’s] monopsonistic
behavior.” 801 F. Supp. 2d. 705, 731 (E.D. Tenn. 2011).
      In positioning itself as an injured seller, A4 seeks to correct two
main problems from its initial pleading. First, A4 attempts to invoke
the “conspiracy” exception from Kartell v. Blue Cross Blue Shield of
Massachusetts, Inc., 749 F.2d 922 (1st Cir. 1984). Kartell establishes
that physicians selling medical services to insurers cannot claim
antitrust injury when the insurer lowers the amount it is willing to pay
for their services because buyers are free to decide “what to seek to buy
and what to offer to pay.” Id. at 929. But the Kartell court suggested
that this general rule is inapplicable where the seller shows that the
buyer’s pricing power was gained through “conspiracy” or “agreements
to fix prices.” Id. at 930, 932. Second, assuming A4 can plausibly plead
that BCBS-MI engaged in a conspiracy, it can assert antitrust injury
even without evidence of predatory pricing. See ECF No. 41,

PageID.1469–74; see also Kartell, 749 F.2d at 932; In re Se. Milk, 555 F.
Supp. 2d at 945–46.


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       Importantly, pleading seller-based standing inherently requires
 A4 to plausibly plead the existence of a conspiracy. Without sufficient

 evidence of illegal concerted action, what A4 complains of—being
 underpaid for medical services purchased by BCBS-MI as an insurer-
 buyer—does not raise a cognizable antitrust injury. See, e.g., Kartell,
 749 F.2d at 925 (“Antitrust law rarely stops the buyer of a service from
 trying to determine the price or characteristics of the product that will
 be sold.”); Westchester Radiological Assocs. P.C. v. Empire Blue Cross &
 Blue Shield, Inc., 707 F. Supp. 708, 713 (S.D.N.Y.), aff’d, 884 F.2d 707
 (2d Cir. 1989) (“[I]f [the radiologists] wish to sell to Blue Cross, they
 must sell Blue Cross the package it wants to buy, and they must agree
 that the price charged to Blue Cross will be the only charge for the
 services.”); Mich. State Podiatry Ass’n v. Blue Cross & Blue Shield of
 Mich., 671 F. Supp. 1139, 1152 (E.D. Mich. 1987) (“[The plaintiffs’]
 argument merely is that podiatrists make less money from BCBSM
 than previously. Such a claim is insufficient to state an antitrust
 violation.”); see also Expert Masonry, Inc. v. Boone Cnty., 440 F.3d 336,
 347 (6th Cir. 2006) (“[I]t is the appropriate nature of a functioning
 competitive marketplace that buyers are free to choose from whom they
 will buy, sellers are free to choose to whom they will sell, and salesmen

 battle and strive to curry favor and close the deal.”).
       For the reasons discussed below, A4’s proposed amendments fail
 to plausibly support the alleged Hospital Conspiracy. As such, A4’s
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 amendments regarding the Hospital Conspiracy are futile because they
 cannot correct A4’s lack of antitrust standing and antitrust injury.

 However, A4’s amended allegations do plausibly establish the existence
 of   a     nationwide   Blues   Conspiracy.   Therefore,    A4’s   proposed
 amendments clarifying its position as a seller injured by the Blues
 Conspiracy can rectify the original Complaint’s antitrust standing and
 antitrust injury defects.
 B. A4’s Amended Pleadings Raise Two Horizontal Conspiracies
          There are two main types of antitrust conspiracies: horizontal and
 vertical. As the Sixth Circuit explained in Crane & Shovel Sales Corp. v.
 Bucyrus-Erie Co.:
          Horizontal conspiracies involve agreements among competitors at
          the same level of competition to restrain trade, such as
          agreements among manufacturers to fix prices for a given product
          and geographic market, or among distributors to fix prices for a
          given market. Vertical conspiracies, on the other hand, involve
          agreements between competitors at different levels of competition
          to restrain trade, such as agreements between a manufacturer
          and its distributors to exclude another distributor from a given
          product and geographic market.
 854 F.2d 802, 805 (6th Cir. 1988).

          Here, A4 alleges two horizontal conspiracies: (1) the Hospital
 Conspiracy; and (2) the Blues Conspiracy. Pursuant to its Hospital
 Conspiracy theory, A4 alleges that hospitals agree with BCBS-MI and
 each other to compensate Michigan anesthesiologists “at a single,
 uniform rate by [BCBS-MI], regardless of quality, and that if an

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 anesthesiologist rejects that rate, that doctor will not be permitted to
 serve patients at those facilities.” ECF No. 43, PageID.1516 (citing ECF

 No. 43-2, PageID.1539–40). But A4 also clarifies that the Hospital
 Conspiracy theory has a “vertical component, between BCBS and each
 hospital.” ECF No. 43-2, PageID.1540. Specifically, A4 posits that
 BCBS-MI convinces hospitals to sign a uniform agreement with BCBS-
 MI and enforces this agreement through “illegal boycott and price fixing
 agreements by steering [patients] away from any hospital” if
 anesthesiologists seek a different rate from BCBS-MI. Id.
       A4’s alleged Blues Conspiracy “also involves a boycott and price-
 fixing conspiracy, coupled with a geographic market allocation
 conspiracy.” ECF No. 43, PageID.1516–17. According to A4, BCBS-MI
 participates in a horizontal conspiracy scheme with other Blue Cross
 Blue Shield insurers (the “Blues”) to “divide the markets for health
 insurance in the United States and [] fix the prices paid to providers of
 medical services, including anesthesiology services.” ECF No. 43-2,
 PageID.1540. As a result, A4 alleges that BCBS-MI “is insulated in
 Michigan from competition from other Blue Cross Blue Shield health
 insurers that would otherwise enter the Michigan markets.” Id.
       Although the “traditional horizontal conspiracy case involves an

 agreement among sellers with the purpose of raising prices to
 supracompetitive levels,” the Sherman Act “also applies to abuse of
 market power on the buyer side—often taking the form of monopsony or
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 oligopsony.” Todd, 275 F.3d at 201 (citing Roger D. Blair & Jeffrey L.
 Harrison, Antitrust Policy and Monopsony, 76 Cornell L. Rev. 297, 297–

 301, 308 (1991)). A4 correctly notes that “a horizontal conspiracy among
 buyers to stifle competition is as unlawful as one among sellers.” Id. But
 the question here is whether A4 can plead facts to plausibly show that a
 horizontal conspiracy exists amongst BCBS-MI, the hospitals, and/or
 the Blues.
       In general, to allege an agreement between antitrust co-
 conspirators, the complaint must allege facts such as a “specific time,
 place, or person involved in the alleged conspiracies” to give a defendant
 seeking to respond to allegations of a conspiracy an idea of where to
 begin. Bell Atl. Corp. v. Twombly, 550 U.S. 544, 565 n.10 (2007). “[A]n
 allegation of parallel conduct and a bare assertion of conspiracy will not
 suffice.” Id. at 556. The plaintiff must provide more specific evidence,
 such as “a written agreement or even a basis for inferring a tacit
 agreement.” Id. at 557. Ultimately, the court must assess “whether the
 challenged anticompetitive conduct ‘stem[s] from independent decision
 or from an agreement.’” Id. at 553 (quoting Theatre Enters., Inc. v.
 Paramount Film Distrib. Corp., 346 U.S. 537, 540 (1954)). Based on
 these plausibility standards, the Court examines whether the factual

 allegations in A4’s proposed Amended Complaint are sufficient to
 answer the questions of “Who, what, when, and where?” with respect to
 the alleged conspiracies.
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       1. The Hospital Conspiracy
       A4’s Hospital Conspiracy theory assumes that no hospital would

 independently coerce its anesthesiologists into accepting BCBS-MI’s low
 uniform reimbursement rates. Instead, in an ordinary market, A4
 claims that hospitals would permit anesthesiologists to demand higher
 prices for providing higher quality care. A4 contends that without a
 conspiracy binding all hospitals in partnership with BCBS-MI, a
 hospital would inevitably lose anesthesiologists to other hospitals that
 do not cap reimbursement at such low rates. See ECF No. 43,
 PageID.1514–15.
       A4 also explains that the alleged hospital conspiracy involves both
 a vertical component and a horizontal component. Id. At the vertical
 level, BCBS-MI signs “template agreements” with hospitals that in turn
 require their anesthesiologists to accept BCBS-MI’s low uniform rate
 terms. Id. at PageID.1515. At the horizontal level, the hospitals agree
 with each other to inhibit anesthesiologists’ ability to demand higher
 rates. Id. Together, these horizontal and vertical agreements eliminate
 “collective-action risk,” by having “nearly every[] Michigan hospital
 agree with [BCBS-MI] and each other to restrict anesthesiologists’
 ability to negotiate with [BCBS-MI], regardless of the hospital.” Id. at

 PageID.1515.
       A4 alleges that surgeons may choose to service a particular
 hospital based on the quality of available anesthesiologists, which
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 ultimately determines the patient’s decision as to where to seek health
 care services. Id. at PageID.1514–15. Because surgeries potentially

 account for up to 80% of hospital revenue, A4 points out that “it makes
 no economic sense for a hospital to agree to prohibit high-quality
 anesthesiologists from negotiating rates with [BCBS-MI],” as better
 anesthesiologists bring in higher surgery revenue. Id. at PageID.1515.
       A4 posits that BCBS-MI “facilitated” the horizontal aspect of the
 conspiracy by:
       (1) publicly acknowledging that it uses a template agreement
       with hospitals (which [] contains a term restricting
       anesthesiology reimbursement just as in [BCBS-MI’s]
       executed hospital agreements); (2) consistently agreeing,
       over decades and with different hospitals, to essentially-
       identical restrictions on anesthesiologist reimbursement,
       even as other aspects of its hospital agreements changed;
       and (3) enforcing the conspiracy in 2019 after A4’s decision
       to leave BCBS’s network caused co-conspirators Trinity and
       Beaumont, where A4 served patients, to be non-compliant.
 Id. at PageID.1516–17.
       BCBS-MI contends, and the Court agrees, that A4 lacks direct,
 “smoking gun” evidence of conspiracy between the hospitals. Hyland v.
 HomeServices of Am., Inc., 771 F.3d 310, 318 (6th Cir. 2014) (explaining
 that direct evidence of a conspiracy in a Section 1 case “must be

 evidence that is explicit and requires no inferences to establish the
 proposition or conclusion being asserted”). Without smoking gun
 evidence, a horizontal price-fixing conspiracy may be “inferred” by


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 “conscious parallelism,” where “interdependent conduct is accompanied
 by circumstantial evidence and plus factors such as defendants’ use of

 facilitating practices.” Todd, 275 F.3d at 198. But “circumstantial
 evidence alone cannot support a finding of conspiracy when the
 evidence is equally consistent with independent conduct.” Sancap
 Abrasives Corp. v. Swiss Indus. Abrasives, 19 F. App’x 181, 187 (6th Cir.
 2001). The Sixth Circuit has identified certain “plus factors” that must
 accompany circumstantial evidence to indicate concerted action:
       1) whether defendants’ actions, if taken independently, would be
       contrary to their economic interests; 2) product uniformity; 3)
       whether the defendants have been uniform in their actions; 4)
       whether the defendants have exchanged or have had the
       opportunity to exchange information relative to the alleged
       conspiracy; and 5) whether the defendants have a common motive
       to conspire or have engaged in a large number of communications.
 Hyland, 771 F.3d at 320.
       The Ninth Circuit’s decision in Barry v. Blue Cross of California,

 closely tracks the facts at issue here. In Barry, the plaintiffs alleged
 that Blue Cross of California orchestrated “a horizontal agreement
 among competing physicians” to engage in price-fixing and a group
 boycott. 805 F.2d 866, 868 (9th Cir. 1986). The plaintiffs claimed that
 the conspiring physicians acted with “conscious parallelism [in] a tacit
 conspiracy,” by pointing to evidence “that several thousand physicians
 signed identical contracts with Blue Cross and that physicians
 participated in creating the plan.” Id. The court plainly rejected the

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 plaintiffs’ argument “that because several thousand physicians all
 signed identical contracts, we should infer a tacit conspiracy.” Id. at

 869. In emphasizing that a horizontal conspiracy must involve
 participants being “economically interdependent,” the court articulated
 three key factors for inferring a conspiracy: (1) “whether each physician
 had an independent business reason for his conduct”; (2) “whether
 joining the Plan required a commitment contrary to the physicians’
 economic self-interest”; and (3) “whether an alleged conspirator would
 have benefited from having other physicians join the alleged
 conspiracy.” Id. at 870.
       First, the Barry court determined that each physician had a “good
 independent reason for joining the Plan: each obtained access to Blue
 Cross customers.” Id. Second, the court found that joining the Plan was
 not against the physician’s self-interest. Although the contract required
 physicians to accept lower fees when treating Plan patients, “each
 physician was free to resign from the Plan at any time” if they were
 unsatisfied with their earnings. Id. And finally, the court determined
 that the participating physicians as alleged co-conspirators “did not
 benefit from having other physicians join” the scheme. Id. Assuming
 “that a certain number of member physicians is necessary to make the

 Plan workable” at its inception, the participating physicians likely
 would have benefited from recruiting new members. Id. But “once the
 Plan was functioning, participating physicians did not benefit from
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 having other physicians join,” as each new physician would then be
 competing with the existing physicians “for the patronage of Plan

 subscribers.” Id. Therefore, the Barry court affirmed the district court’s
 grant of summary judgment in favor of Blue Cross of California.
       i. A4 Fails to Plausibly Allege the Existence of the Hospital
          Conspiracy
       A4 has not plausibly alleged a horizontal conspiracy between
 hospitals based on circumstantial evidence and “plus factors.”
 Specifically, A4 fails to demonstrate that the hospitals conspired with
 one another in an illegal scheme orchestrated by BCBS-MI.
       In its initial Order, the Court determined A4’s allegation that
 BCBS-MI’s     anti-competitive    conduct   began    in   April   2019   and
 culminated in October 2020, failed to adequately plead a causal link
 between BCBS-MI’s conduct and the alleged injury. Because the
 artificially low-reimbursement rates A4 cited were from 2018, the
 alleged injury “preced[ed] the time period when the conspiracy was
 formed.” ECF No. 41, PageID.1485.
       In the proposed Amended Complaint, A4 has attempted to correct

 this flaw:

       Whereas the Complaint focused on allegations that BCBS,
       Trinity, and Beaumont conspired in 2019 after A4 signaled
       its intent to leave BCBS’s network, the Amended Complaint
       clarifies that those actions were instead efforts to enforce a
       conspiracy that had been ongoing for decades prior.
       Pursuant to that underlying conspiracy, which is
       memorialized in written agreements produced in discovery
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       by BCBS, hospitals in Michigan have agreed with BCBS,
       and each other, that anesthesiologists will not be permitted
       to access the hospitals to treat patients unless they accept
       BCBS’s statewide, uniform rate for anesthesiology services.
       See Ex. 1 at ¶¶ 1, 26-35, 104-117 (proposed Amended
       Complaint). Because anesthesiologists require access to
       hospitals to serve patients, the conspiracy requires
       anesthesiologists to accept BCBS’s uniform rate if they wish
       to practice in Michigan.
 ECF No. 43, PageID.1514 (emphasis added).
       In    response,   BCBS-MI     suggests   that     the   more    rational
 explanation is that “hospitals independently find it more valuable to
 contract with [BCBS-MI] than to contract with any particular
 anesthesiology group.” ECF No. 46, PageID.1738. The hospitals
 therefore    agreed     with   BCBS-MI    to   an     in-network     provision,
 “irrespective    of     whether    the    hospital’s     currently-admitted
 anesthesiologists go elsewhere.” Id. at PageID.1738–39. Furthermore,
 BCBS-MI contends that if hospitals cannot afford to leave BCBS-MI,
 that is an independent and valid reason for accepting BCBS-MI’s terms.
 Id. at PageID.1720–21. Finally, BCBS-MI posits that in this case, it is
 “only natural” that each hospital would choose to stay in-network with
 BCBS-MI and replace its anesthesiologists, if faced with that choice. Id.
 at PageID.1739–40.

       The Court agrees that A4 has not adequately supported its
 Hospital Conspiracy theory. First, the fact that the hospitals signed an
 identical template agreement is insufficient to demonstrate a tacit


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 conspiracy. See Barry, 805 F.2d at 869. And the proposed Amended
 Complaint provides only sparse support for other indicators of concerted

 action between the hospitals. For example, A4 states that an unnamed
 hospital, as an alleged co-conspirator, contacted Trinity to threaten
 Trinity with steering away potential patients. ECF No. 43-2,
 PageID.1606–07. But the proposed Amended Complaint does not allege
 any other facts that the hospitals conspired together rather than acting
 independently. Moreover, the fact that some agreements were signed
 nearly two decades apart further cuts against finding tacit conspiracy.
 See In re Travel Agent Comm’n Antitrust Litig., 583 F.3d 896, 911 (6th
 Cir. 2009) (discounting statement evidencing parallel conduct because
 the statement was made “too remote[ly] in time to support a plausible
 inference of agreement”); cf. Home Quarters Real Est. Grp., LLC v.
 Mich. Data Exch., Inc., No. 07-12090, 2009 WL 276796, at *4 (E.D.
 Mich. Feb. 5, 2009) (adopting magistrate judge’s findings that the
 “temporal proximity of Defendants’ actions,” which occurred within the
 same 24-hour period, demonstrates tacit conspiracy).
       Second, as in Barry, there is a good independent reason for each
 hospital to want to contract with BCBS-MI: guaranteed access to BCBS-
 MI customers. Relatedly, it is not contrary to a hospital’s economic self-

 interest to partner with BCBS-MI. By pursuing an agreement with
 BCBS-MI, hospitals are opening themselves up to “compete for the
 same consumer’s business . . . and give customers more options.” Stop &
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 Shop Supermarket Co. v. Blue Cross & Blue Shield of R.I., 373 F.3d 57,
 62 (1st Cir. 2004).

       Third, increasing the number of participating hospitals could be
 considered beneficial if a threshold number of partnering hospitals is
 necessary to make the uniform rate agreement economical. But after a
 certain point, each new partnering hospital will become unwanted
 competition for recruiting anesthesiologists and BCBS-MI subscribers.
 As such, the hospitals do not have a significant economic incentive to
 recruit additional “co-conspirators.”
       Lastly, the Court finds that A4’s proposed amendments fail to
 address crucial causation issues. Even assuming BCBS-MI possesses
 significant market power and it “uses that power to obtain ‘lower than
 competitive’ prices,” Kartell, 749 F.2d at 927, this does not solve the
 problem of whether the uniform rates are caused by the alleged
 Hospital Conspiracy. Indeed, “even a monopolist is free to exploit
 whatever market power it may possess when that exploitation takes the
 form of charging uncompetitive prices.” Id. A4’s proposed Amended
 Complaint also notes that Beaumont contracts with a competitor
 insurer that does not require the low uniform rates imposed by BCBS-
 MI. ECF No. 43-2, PageID.1591, ¶ 108. But A4 does not allege whether

 a more generous rate schedule has alleviated the problems it complains
 of with respect to BCBS-MI’s low fees. Because a hospital can
 independently contract with a BCBS-MI competitor insurer under
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 different terms, and BCBS-MI does not prevent providers from treating
 any patients nor patients from receiving treatment from any

 anesthesiologist, A4 has failed to demonstrate “impermissible market
 distortions” caused by the Hospital Conspiracy. See Barry, 805 F.2d at
 872.
        The Court finds that A4 has failed to plead factual allegations
 giving rise to a Hospital Conspiracy. As such, A4 lacks seller-based
 standing to raise a cognizable antitrust injury premised on the Hospital
 Conspiracy, and its motion for leave to amend these allegations is
 DENIED in part as futile.
        ii.   A4 Fails to Plead Subject Matter Jurisdiction over Its
              Hospital Conspiracy Claims
        Independent of its findings that A4’s proposed amendments on the
 Hospital Conspiracy theory would be futile to establishing antitrust
 standing and antitrust injury, the Court also finds that A4 has failed to
 sufficiently plead subject matter jurisdiction over claims premised on
 the Hospital Conspiracy.
        The Court is permitted to raise concerns about subject matter

 jurisdiction at any time and of its own volition. Apple v. Glenn, 183 F.3d
 477, 479 (6th Cir. 1999). In McLain v. Real Estate Board of New
 Orleans, Inc., the Supreme Court emphasized that to satisfy the

 Sherman Act’s “jurisdictional requirement,” the plaintiff must show
 “either that defendants’ activity is itself in interstate commerce or, if it

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 is local in nature, that it has an effect on some other appreciable
 activity demonstrably in interstate commerce.” 444 U.S. 232, 242

 (1980). The Sixth Circuit has interpreted McLain to require the plaintiff
 to “allege[] sufficient facts to support an ‘interstate commerce’ nexus to
 bring the case within the parameters of the Sherman Act.” Stone v.
 William Beaumont Hosp., 782 F.2d 609, 614 (6th Cir. 1986); see also
 Mich. State Podiatry Ass’n v. Blue Cross & Blue Shield of Mich., 671 F.
 Supp. 1139, 1155 (E.D. Mich. 1987) (“[T]he Sixth Circuit requires a
 showing that the challenged activity itself has some impact on
 interstate commerce.”).
       In Michigan State Podiatry Association v. Blue Cross and Blue
 Shield of Michigan, the court found that the plaintiffs failed to establish
 “the requisite effect on interstate commerce,” thus stripping the court of
 subject matter jurisdiction over their Sherman Act claims. 671 F. Supp.
 at 1155. The plaintiffs, an organization representing most podiatrists in
 Michigan, alleged that BCBS-MI illegally conspired with other doctors
 to decrease reimbursement rates for podiatric procedures. Id. at 1142.
 To satisfy the jurisdictional interstate commerce requirement, the
 plaintiffs alleged that:
       (1) BCBSM pays out-of-state physicians for health care services
       rendered to BCBSM subscribers;
       (2) BCBSM provides prepaid health care plans to cover the work
       force of virtually all Michigan manufacturers, such as Chrysler,
       whose products are sold in interstate and foreign commerce and


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       which depend upon BCBSM’s proper and legal administration of
       health care benefits for their workers;
       (3) BCBSM administers, in large part, the federal Medicaid and
       Medicare programs which entail transfers of large amounts of out-
       of-state monies into the State of Michigan; and
       (4) BCBSM draws resources from a national pool of health care
       funds available to prepaid health care plans and commercial
       insurance policies from within and without the State of Michigan.
 Id. at 1154.
       Even so, the court found that “[a]s a matter of practical
 economics,” lowering reimbursement rates for “procedures performed on
 in state patients” by Michigan-based podiatrists could not demonstrate
 an “appropriate nexus with interstate commerce.” Id. at 1155.
 Therefore, the court concluded that the plaintiffs had failed to satisfy
 the Sherman Act’s jurisdictional prerequisite. Id.
       Similarly here, A4 generally alleges that “BCBSM is engaged in
 interstate     commerce,”   and   A4’s    claims   involve   conduct    that
 “substantially    affects   interstate    commerce.”    ECF     No.    43-2,
 PageID.1572, ¶ 67. More specifically, A4 claims that because of BCBS-
 MI’s depressed reimbursement rates, “multiple anesthesiologists” have
 left Michigan for Ohio, and Michigan providers are struggling to recruit
 anesthesiologists nationwide. Id. Furthermore, “BCBSM provides
 commercial health insurance that covers Michigan residents when they
 travel across state lines, purchases health care in interstate commerce
 when Michigan residents require health care out of state, and receives

 payments from customers located outside Michigan.” Id.

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       But with respect to the Hospital Conspiracy, A4’s allegations
 demonstrate that BCBS-MI’s conduct is fundamentally local in nature,

 and it cannot demonstrate that lowering anesthesiology reimbursement
 rates for Michigan anesthesiologists serving primarily Michigan
 patients has a substantial impact on interstate commerce. Moreover, as
 in Michigan State Podiatry, A4 “cannot rely on BCBS-MI’s overall
 business activities,” nor that BCBS-MI pays for out-of-state services to
 demonstrate an interstate commerce nexus. 671 F. Supp. at 1155.
       The Hospital Conspiracy centers around BCBS-MI’s uniform rates
 for anesthesiologists in Michigan, based on agreements with Michigan
 hospitals, impacting the quantity and quality of anesthesiologists in
 Michigan.    A4’s    allegation    that   an    unspecified    number     of
 anesthesiologists have left Michigan to work in Ohio is insufficient to
 establish a substantial effect on interstate commerce. In fact, A4
 acknowledges that “commuting [to Ohio] is not an option generally
 available to Michigan anesthesiologists,” and “anesthesiology services,
 are also, by their nature, primarily local, as people tend to visit
 hospitals close to where they live and work.” ECF No. 43-2,
 PageID.1634, ¶ 204. With respect to its allegations of difficulty
 recruiting out-of-state anesthesiologists, A4 introduces inconsistency to

 its position that it is an injured seller. As a “recruiter,” A4 functions as
 a buyer of anesthesiology services, which A4 repeatedly notes is
 unrelated to the conspiracies it challenges as an injured seller.
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 Therefore, A4’s proposed amendments to its Hospital Conspiracy
 allegations fail to satisfy the Sherman Act’s jurisdictional requirement,

 and the Court must deny leave to amend those allegations.
       2. The Blues Conspiracy
       A4 also alleges a second conspiracy. A4 contends that BCBS-MI
 conspired with other “Blues” (commercial health insurance companies
 licensing the Blue Cross Blue Shield brand), to suppress competition
 and monopsonize the markets for buying anesthesiology services. ECF
 No. 43-2, PageID.1596. A4 alleges that the Blues Conspiracy is a
 horizontal conspiracy implemented through an “amended license
 agreement” with the Blue Cross Blue Shield Association (“BCBSA”). Id.
 at PageID.1596–97. A4 explains that “BCBSA owns the Blue Cross Blue
 Shield branding and is in turn owned and controlled by the Blues.” Id.
 at PageID.1597. Pursuant to these agreements, A4 alleges that the
 Blues refrain, with “limited exceptions, from competing in each other’s
 service areas and will curtail competition involving their non-Blue
 affiliates.” Id. By restraining competition with the other Blues and their
 affiliates, BCBS-MI can lower costs and increase control over the
 Michigan commercial health insurance market. Id. at PageID.1598.
       In addition, A4 argues that “the ‘amended license agreement’

 requires Blues to fix prices and boycott healthcare providers outside
 their service area.” Id. at PageID.1599. Specifically, A4 alleges the
 following:
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       The Price Fixing and Boycott aspect of the license agreement
       involves the BlueCard program, which the “amended license
       agreement” requires the Blues to use. The BlueCard
       program is a method through which [BCBS-MI] can process
       claims by a provider in its service area on behalf of a patient
       covered by another Blue plan, and vice versa. Under the
       BlueCard program, the patient’s Blue insurer is referred to
       as the “Home Plan,” while the Blue located where the
       medical service is provided is the “Host Plan.” If a healthcare
       provider treats someone covered by a Blue plan in another
       state, the healthcare provider must submit their claim to the
       Host Plan, after which the claim is transmitted to the Home
       Plan for processing. The provider is paid based on the
       reimbursement rates in his or her contract with the Host
       Plan—thereby fixing prices between the Host Plan and the
       Home Plan.
       …
       As part of the Price Fixing and Boycott conspiracy, [BCBS-
       MI] and the other Blues have also agreed not to contract
       with providers outside of their respective service areas. This
       boycott means that A4’s only option for providing services in
       Michigan to patients insured under other Blues is to do so
       through [BCBS-MI], using the BlueCard program. A4 is
       therefore forced to accept [BCBS-MI’s] anesthesiology rate
       when it covers patients insured by any of the Blues,
       regardless of what those insurers’ rates are. This price fixing
       in turn keeps the anesthesiology rates in Michigan
       artificially suppressed.
 Id.
       In response, BCBS-MI argues that the Blues Conspiracy
 allegations must fail because A4 does not identify “any ready, willing,
 and able entrants” to compete with BCBS-MI in the Michigan insurance
 market. ECF No. 46, PageID.1742. A4 contends that the “ready, willing,
 and able” test does not apply to ‘market-division agreements’ barring

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 ‘potential’ competition.” ECF No. 47, PageID.1798 (citing Philip E.
 Areeda & Herbert Hovenkamp, Antitrust Law: An Analysis of Antitrust

 Principles & Their Application ¶ 2030b (4th ed.)).
       BCBS-MI has not adequately supported the applicability of the
 “ready, willing, and able” test to the present circumstances. Moreover,
 the Court finds that the “ready, willing, and able” standard need not
 dictate whether A4 has adequately pled the existence of a horizontal
 price-fixing and market-division conspiracy. Here, A4 alleges that
 absent a market-division conspiracy, other Blues would compete with
 BCBS-MI in Michigan. In other words, the Blues Conspiracy constitutes
 an illegal horizontal agreement between BCBS-MI and other out-of-
 state BCBSA insurers. Importantly, antitrust doctrine generally
 considers this type of arrangement illegal per se, without demanding an
 independent showing of anticompetitive effects. See United States v.
 Topco Assocs., Inc., 405 U.S. 596, 608 (1972) (“One of the classic
 examples of a per se violation of [Section 1 of the Sherman Act] is an
 agreement between competitors at the same level of the market
 structure to allocate territories in order to minimize competition.”); In
 re Cardizem CD Antitrust Litig., 332 F.3d 896, 909 (6th Cir. 2003)
 (“[T]he law is clear that once . . . a restraint is subject to per se analysis,

 the claimed lack of any actual anticompetitive effects or presence of
 procompetitive effects is irrelevant.”).


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       The ultimate question is whether A4 has plausibly alleged the
 existence of the Blues Conspiracy to obtain seller-based antitrust

 standing. In pending multidistrict litigation in the Northern District of
 Alabama, healthcare providers alleged that “the Defendant Blue
 Cross/Blue Shield Plans, which are independent companies, along with
 the Blue Cross Blue Shield Association, have engaged in a conspiracy to
 horizontally allocate geographic markets.” In re Blue Cross Blue Shield
 Antitrust Litig., 26 F. Supp. 3d 1172, 1180 (N.D. Ala. 2014). The In re
 Blue Cross court’s summary of the provider-plaintiffs’ allegations closely
 track A4’s allegations against BCBS-MI:
       [T]he Providers allege that Defendants previously reached an
       explicit agreement to divide the United States into what they term
       “Service Areas” and then to allocate those geographic markets
       among the Blues, free of competition from one another. The
       Providers specifically allege that Defendants have created
       geographic markets and allocated those among themselves by
       agreeing not to compete with each other within those markets.
       The Providers further allege that, as a result of decreased
       competition due to the market allocation, they are paid much less
       by the Blues than they would be absent Defendants’ conspiratorial
       conduct.
 Id. at 1180. The In re Blue Cross court concluded that “Plaintiffs have
 alleged a viable market allocation scheme” to survive the defendants’
 motions to dismiss, but it declined to decide whether the alleged
 horizontal conspiracy should be treated as a per se violation at the
 motion to dismiss phase. Id. at 1184.



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       BCBS-MI has not attempted to distinguish A4’s Blues Conspiracy
 allegations from those that survived a motion to dismiss in In re Blue

 Cross. Indeed, BCBS-MI notes that these exact claims “are the subject
 of pending multidistrict litigation.” ECF No. 46, PageID.1742. The
 uncanny similarity between A4’s Blues Conspiracy allegations and the
 In re Blue Cross healthcare providers’ claims persuade the Court that
 such nearly identical circumstances compel a consistent result. A4
 plausibly alleges the existence of a conspiracy through “amended license
 agreements” between BCBS-MI and other Blues that geographically
 divides markets and prevents competition between the Blues. ECF No.
 43-2, PageID.1596–96, ¶¶ 119–20. For example, these agreements
 prohibit BCBS-MI from competing with out-of-state Blues, while also
 insulating itself from other Blue competitors. Id. at PageID.1597–98, ¶
 122. In addition, the agreements bar BCBS-MI and other Blues from
 earning “more than 20% of its revenue from non-Blue business in its
 designated service area,” thus prohibiting the Blues from “competing
 with each other using non-Blue subsidiaries.” Id. at PageID.1597, ¶ 121.
 A4 also alleges that these horizontal agreements reduce reimbursement
 prices   paid   across   the   Blues’    network   and   require   Michigan
 anesthesiologists to accept BCBS-MI’s lower uniform rate even if their

 patient is insured by an out-of-state Blue with a higher rate. Id. at
 PageID.1599–1600, ¶¶124–28.


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       But crucially, at this stage, the Court’s holding “does not resolve
 the issues of causation and damages,” which A4 will still need to prove

 to recover. In re Cardizem, 332 F.3d at 909. Nor is the Court required to
 decide whether the alleged Blues Conspiracy is considered a per se
 violation or should be subject to the rule of reason analysis. See In re
 Blue Cross, 26 F. Supp. 3d at 1187 (denying the defendants’ motions to
 dismiss the plaintiffs’ horizontal market allocation conspiracy claims
 but declining to establish the standard of review without a developed
 factual record).
       By plausibly alleging the existence of the Blues Conspiracy and
 asserting seller-based standing, the Court merely finds that A4 has
 partially corrected its original Complaint’s antitrust standing and
 antitrust injury deficiencies. Therefore, with respect to its amended
 allegations regarding the Blues Conspiracy and seller-based standing,
 A4’s motion for leave to amend is GRANTED in part.
                              IV.   CONCLUSION
       For the foregoing reasons, Plaintiff’s Motion for Leave to Amend is
 DENIED in part and GRANTED in part. Plaintiff is permitted to
 proceed on its federal antitrust claims based solely on its allegations
 related to the Blues Conspiracy. The Court retains supplemental
 jurisdiction over Plaintiff’s state law claims raised in the Amended

 Complaint pursuant to 28 U.S.C. § 1367.


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 IT IS SO ORDERED.


 Dated:   September     28, s/Terrence G. Berg
 2022                       TERRENCE G. BERG
                            UNITED STATES DISTRICT JUDGE




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                       Certificate of Service
      I hereby certify that this Order was electronically filed,
 and the parties and/or counsel of record were served on
 September 28, 2022.
                            s/Karri Sandusky for A. Chubb
                            Case Manager




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